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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


ARBUTUS BIOPHARMA CORPORATION                       :
and GENEVANT SCIENCES GMBH,                         :
                                                    :      CIVIL ACTION
                             Plaintiffs,            :
                                                    :
              v.                                    :
                                                    :      NO. 22-252
MODERNA, INC. and MODERNATX, INC.,                  :


                                            ORDER

       AND NOW, this 8th day of February, 2024, it is hereby ORDERED that a Hearing on

discovery disputes in the above matter is scheduled for Thursday, February 22, 2024 at 10:00 a.m.

in Courtroom 17-A, U.S. Courthouse, 601 Market Street, Philadelphia, Pa.



                                            BY THE COURT:


                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.
